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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.



  STATE FARM MUTUAL
  AUTOMOBILE INSURANCE
  COMPANY a/s/o BRENDA
  SHULER,

         Plaintiff,

  v.

  UNITED STATES
  OF AMERICA,

         Defendant.

  ____________________________/

                          PLAINTIFF’S COMPLAINT FOR DAMAGES

         Plaintiff, STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY as subrogee

  of BRENDA SHULER, sues Defendant, UNITED STATES OF AMERICA, and states:

         1.      That this is a civil action arising from an automobile accident caused by a federal

  agency and employees of the government as defined in 28 U.S.C.A. § 2671 and this Court has

  jurisdiction pursuant to 28 U.S.C.A. §§ 1346, 1367.

         2.      That Plaintiff’s insured resides in the Southern District of Florida where the acts and

  omissions complained of occurred.

         3.      That Plaintiff is an Illinois corporation with its principal place of business in that state

  and is competent to bring this action.

         4.      That at all times material to this action, Plaintiff insured Brenda Shuler—the
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  insured—and was obliged to reimburse the insured for damages to her 2015 Kia Optima and for

  other damages associated with motor vehicle accidents.

         5.      That this subrogation action for tort is not an action on the policy.

         6.      That all conditions precedent to initiating this action have been performed or are

  excused.

         7.      That Plaintiff has fulfilled all federal conditions precedent to filing this lawsuit and

  has filed a claim for damage, injury or death with the appropriate federal agency in accordance with

  28 U.S.C.A. § 2672 or such compliance is excused. Evidence of compliance is attached and/or will

  be filed with the Court as necessary.

         8.      That under the Federal Tort Claims Act, 28 U.S.C.A. §§ 2671-80, the United States

  Coast Guard is considered a federal agency and its agent and/or employee, Gleb V. Borovok, is

  considered an employee of the federal government.

         9.      That at all times material to this action, 28 U.S.C.A. §§ 2671-2680 provide that the

  UNITED STATES is liable and responsible for the acts and omissions of the USCG and its agents

  and employees including, without limitation, Borovok.

         10.     That at all times material to this action, the USCG owned or was otherwise

  responsible for a 2017 Ford C-Max or other vehicle which was operated with its consent, knowledge,

  and permission by Borovok.

         11.     That on or about October 24, 2017 on Interstate 95 near the intersection with Sheridan

  Street in Hollywood, Broward County, Florida, Defendant’s vehicle negligently rear-ended the

  insured’s vehicle causing no less than $19,512.04 in damages.

         12.     That as a result of the collision, Plaintiff was required to pay no less than $19,012.04


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  and the insured paid a $500.00 deductible.

         13.      That Plaintiff having made payments to and/or on behalf of its insured is entitled to

  directly claim its damages from Defendant which caused the losses.

         14.      That at all times material to this action, Defendant owed Plaintiff, the insured, and

  the public-at-large duties to reasonably maintain its vehicle and to reasonably operate its vehicle in

  conformance with applicable traffic laws.

         15.      That Defendant breached the aforementioned duties by negligent acts and/or

  omissions which include, without limitation:

                  a.     striking the insured’s vehicle from behind;
                  b.     following too closely;
                  c.     driving carelessly and failing to control its vehicle;
                  d.     operating its vehicle at a speed inappropriate for conditions;
                  e.     operating its vehicle in an unsafe or illegal manner;
                  f.     failing to maintain its vehicle in a reasonable or safe manner;
                  g.     failing to use due care; and/or
                  h.     by such other negligent acts and/or omissions as discovery or the evidence
                         may show.

         16.      That as a direct and proximate result of Defendant’s negligence, Defendant’s vehicle

  collided with the insured’s vehicle so that Plaintiff and the insured suffered damages.

         WHEREFORE the Plaintiff, STATE FARM MUTUAL AUTOMOBILE INSURANCE

  COMPANY a/s/o BRENDA SHULER, demands judgment against the Defendant, UNITED

  STATES OF AMERICA, and further demands court costs, interest, and such other relief as the Court

  deems proper.

         DATED this 22nd day of July 2019.

                                                 s/ Eugene G. Beckham
                                                 EUGENE G. BECKHAM
                                                 Florida Bar No. 360732


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                                     subro@beckhamlaw.com
                                     Beckham & Beckham, P.A.
                                     2191 Northeast 163rd Street
                                     Second Floor
                                     North Miami Beach, Florida 33162
                                     Telephone 305-957-3900
                                     Facsimile 305-940-8706
                                     Attorneys for Plaintiff, State Farm




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